                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )       NO. 3:10-00065
                                           )       JUDGE CAMPBELL
VICTOR L. OWENS                            )


                                           ORDER


       Pending before the Court is a Motion to Suppress and Request for Franks Hearing

(Docket No. 164).

       The Court will hold a hearing on the Motion to Suppress on November 1, 2012, at 9:00

a.m. The Court takes under advisement the request for a Franks hearing pending briefing and

argument at the hearing.

       IT IS SO ORDERED.



                                                   __________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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